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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                             )
JOHN DOE,                                    )
                                             )
                                             )
              Plaintiff,                     )   Civil Action No: 1:17-CV-6583
                                             )
       v.                                    )   Hon. Robert M. Dow, Jr.
                                             )   Magistrate Judge Jeffrey Cole
NORTHWESTERN UNIVERSITY,                     )
                                             )
                                             )
              Defendant.                     )

                     PLAINTIFF’S UNOPPOSED MOTION FOR
                 PERMISSION TO PROCEED UNDER A PSEUDONYM

       For the reasons stated more fully in the accompanying Memorandum of Law in Support

of Plaintiff John Doe’s Unopposed Motion for Permission to Proceed Under a Pseudonym,

Plaintiff “John Doe” hereby moves this Court to allow him to pursue relief in the above-

captioned matter anonymously.

Dated: September 12, 2017                   Respectfully submitted,

                                            JOHN DOE


                                            By:/s/ Jonathan M. Cyrluk
                                                          One of his attorneys

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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Plaintiff’s

Unopposed Motion for Permission to Proceed Under a Pseudonym to be served upon counsel for

Defendant Northwestern University listed below by email and U.S. First Class Mail on this 12th

day of September, 2017:

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